   Case 19-41555       Doc 9    Filed 10/08/19 Entered 10/08/19 14:58:13       Desc Main
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                        UNITED STATES BANKRUPTCY COURT
                     DISTRICT OF MASSACHUSETTS (WORCESTER)


In re:
                                                   Chapter 7
Andy Tran
Aka Tam Tran                                       Case No. 19-41555
Dba Andy Tran Salon Enterprises LLC
     Debtor


                NOTICE OF APPEARANCE AND REQUEST FOR NOTICE

       Now comes LoanCare, LLC, and gives notice that the undersigned counsel files this
appearance on its behalf.

         Signed this October 8, 2019.

                                        LoanCare, LLC

                                        By Its Attorneys


                                        /s/ Joseph M. Dolben________
                                        Joseph M. Dolben, Esq., # 673113
                                        Marinosci Law Group, P.C.
                                        275 West Natick Road, Suite 500
                                        Warwick, RI 02886
                                        Telephone: (401) 234-9200
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                                                     Chapter 7
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     Debtor




                                 CERTIFICATE OF SERVICE

       I, Joseph Dolben, Esq., of Marinosci Law Group, P.C., do hereby certify that October 8,
2019 I served a copy of the Notice of Appearance on the attached service list by mailing a copy
of same by first class mail, postage prepaid or other method specified on service list.

         Signed this 8th day of October, 2019.


                                                 /s/ Joseph Dolben, Esq.________
                                                 Joseph Dolben, Esq., #673113
                                                 Marinosci Law Group, P.C.
                                                 275 West Natick Road, Suite 500
                                                 Warwick, RI 02886
                                                 Telephone: (401) 234-9200

VIA ECF
Darren J. Rillovick, Esq., on behalf of Debtor
Richard King, on behalf of the US Trustee
Janice Marsh, Esq., on behalf of the Trustee
